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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt           POTTER STEWART U.S. COURTHOUSE             Tel. (513) 564-7000
        Clerk                     CINCINNATI, OHIO 45202-3988           www.ca6.uscourts.gov




                                              Filed: January 21, 2022



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            Case: 22-1010 Document:
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 Ms. Heather S. Meingast
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 P.O. Box 30217
 Lansing, MI 48909

                   Re: Case No. 22-1010, Timothy King v. Gretchen Whitmer, et al
                       Originating Case No. : 2:20-cv-13134

 Dear Sir or Madam,

    The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/C. Anthony Milton
                                                 Case Manager
                                                 Direct Dial No. 513-564-7026

 cc: Ms. Kinikia D. Essix

 Enclosure

 No mandate to issue
            Case: 22-1010 Document:
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                                           Case No. 22-1010

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                               ORDER

 TIMOTHY KING

                Plaintiff

 and

 STEFANIE LYNN JUNTTILA

                Interested Party - Appellant

 v.

 GRETCHEN WHITMER; JOCELYN BENSON; CITY OF DETROIT, MI

                Defendants - Appellees



      Appellant having previously been advised that failure to satisfy certain specified

 obligations would result in dismissal of the case for want of prosecution and it appearing that the

 appellant has failed to satisfy the following obligation(s):

          The Form of Appearance was not filed by January 19, 2022.
          The Disclosure of Corporate Affiliations and Financial Interest was not filed by
          January 19, 2022.
          The Civil Appeal Statement of Parties and Issues was not filed by January 19,
          2022.
          The Transcript Order was not filed by January 19, 2022.

      It is therefore ORDERED that this cause be, and it hereby is, dismissed for want of

 prosecution.

                                                    ENTERED PURSUANT TO RULE 45(a),
                                                    RULES OF THE SIXTH CIRCUIT
                                                    Deborah S. Hunt, Clerk


 Issued: January 21, 2022
                                                    ___________________________________
